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                                   SUPPLEMENTAL CIVIL COVER SHEET
                                 FOR CASES REMOVED FROM STATE COURT

                            This form must be attached to the Civil Cover Sheet at the time
                                   the case is filed in the United States District Court


                    Clark
State Court County: _______________________________________

Case number and caption:

  2024 CR 0278                                        State of Ohio                                        William J. Brock
  _________________                                  _________________                     vs              _________________
        Case Number                                          Plainfiff(s)                                       Defendant(s)



Jury Demand Made in State Court:                                                                       ✘        Yes            No

If “Yes,” by which party and on what Date:

     Defendant William Brock                                                             April 17, 2024
    _____________________________________                                               _________________
                             Party                                                                Date



Were there parties not served prior to removal?                                                                 Yes      ✘     No

Were there parties dismissed/terminated prior to removal?                                                       Yes      ✘     No

Were there answers filed in State Court?                                                                        Yes      ✘     No

Is there a pending TRO in State Court?                                                                          Yes      ✘     No



If you have answered “yes” to any of the above please list parties not served, the parties dismissed/terminated and the parties
that filed their answers on the reverse of this page.

On the reverse of this page please list all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
Third Party Claimant(s) still remaining in the case and indicate their party type. Please list the attorney(s) of record for each
party named and include their bar number, firm name, correct mailing address and phone number, including area code.



Are copies of all state case pleadings attached to your removal?                                      ✘         Yes            No
                                                                         7KLVLVRQO\DSDUWLDOUHPRYDOUHOHYDQWSDSHUVDWWDFKHG
                                                                          Additional court papers will be provided upon request.
If your answer is “No”, when will they be filed:                         _________________________________________

List the parties that are removing the case:
___________________________________________
 Non-Party Movant Elena Iatarola,                                           ______________________________________
___________________________________________
 Special  Agent in Charge, Federal Bureau of Investigation                  ______________________________________
___________________________________________                                 ______________________________________




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         Parties Not Served                          Parties Dismissed                              Answers Filed

I.E. Defendant John Doe                    I.E. Defendant John Doe                    I.E. Defendant John Doe
N/A                                            N/A                                      N/A




                      Party and Type                                                     Attorney(s)

I.E.    Plaintiff John Doe                                        I.E.   Attorney(s) Name
                                                                         Firm
                                                                         Address
                                                                         City, State, Zip
                                                                         Telephone and Fax Number
                                                                         Supreme Court Number

                                                                  Kadawni A. Scott (0099884)
 Plaintiff State of Ohio                                          50 E. Columbia St., Suite 449
                                                                  Springfield, Ohio 45502
                                                                  (937) 521-1770

 Defendant William Brock                                          John H. Rion (0002228)
                                                                  Jon Paul Rion (0067020)
                                                                  130 West Second Street, Suite 2150
                                                                  P.O. Box 10126
                                                                  Dayton, Ohio 45402
                                                                  (937) 223-9133


 Elena Iatarola (Non-Party)                                       Jade K. Smarda (0085460)
 Federal Bureau of Investigation (Non-Party)                      200 W. Second Street, Suite 600
 United States of America (Non-Party)                             Dayton, Ohio 45402
                                                                  (937) 225-2910

                             USE A SEPARATE SHEET OF PAPER IF NECESSARY

                                                            -2-
